                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Ryan Tavon Berrie                                              Docket No. 7:20-MJ-1344-1RN

                                     Petition for Action on Probation

COMES NOW Melissa K. Lunsmann, U.S. Probation Officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Ryan Tavon Berrie, who, upon an earlier plea of
guilty to Level V DWI, in violation of 18 U.S.C. § 13-7210, assimilating NCGS 20-138.1, was sentenced
by the Honorable Robert T. Numbers, II, U.S. Magistrate Judge, on April 8, 2021, to 6 months probation
under the conditions adopted by the court.

       On June 25, 2021, a Petition for Action on Probation was submitted advising the court that the
defendant tested positive for marijuana on two separate occasions. The court agreed to extend supervision
by 2 months to allow the defendant the opportunity to complete substance abuse and DWI treatment.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On October 7, 2021, the defendant submitted to urinalysis screening that tested positive for marijuana use.
He admitted to using marijuana and acknowledged that this decision was inexcusable and unacceptable.
The defendant is enrolled in substance abuse treatment through PORT Human Services and DWI treatment
through Holland Assessment and Counseling in New Bern, North Carolina. It is respectfully recommended
that his probation term be extended for an additional 2 months, in order to provide him with ample
opportunity to benefit from these services, and to require him to complete 20 hours of community service.
He understands that additional violation conduct will result in further sanctions.

The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that probation be modified as follows:

   1. The term of probation be extended for 2 months.

   2. The defendant shall perform 20 hours of community service as directed by the probation office and
      if referred for placement and monitoring by the State of North Carolina, pay the required fee.

Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                               I declare under penalty of perjury that the foregoing
                                                     is true and correct.


/s/ David W. Leake                                   /s/ Melissa K. Lunsmann
David W. Leake                                       Melissa K. Lunsmann
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     200 Williamsburg Pkwy, Unit 2
                                                     Jacksonville, NC 28546-6762
                                                     Phone: (910) 346-5103
                                                     Executed On: October 13, 2021

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                                         ORDER OF THE COURT

Considered and
Considered   and ordered  thisOctober
                  ordered on          13, 2015
                               _________
                                 May 15,  2021
                                           day of ____________________,
                                                   . It is further ordered that2021,  and ordered
                                                                                this document     filed
                                                                                               shall be and
                                                                                                        filed and
made aa part
made    part of
             of the
                the records
                    records in
                            in the
                               the above
                                   above case.
                                         case.

________________________________
Robert T. Numbers, II
U.S. Magistrate Judge
____________________________________
Robert T. Numbers, II
United States Magistrate Judge




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